               Case 5:23-cv-01118-AB-SSC Document 1-1 Filed 06/13/23 Page 1 of 3 Page ID #:9
                                        UNITED STS. _5 DISTRICT COURT,CENTRAL DISTRICT OF ~_ ..IFORNIA
                                                              CIVIL COVER SHEET
 1.(a)PLAINTIFFS (Check box if you are representing yourself ~)                       DEFENDANTS             (Check box if you are representing yourself ~ j
                                     BRIAN BROWN                                                              CITY OF NEEDLES,BERNARD HATZ II



(b) County of Residence of First Listed Plaintiff            San Bernardino           County of Residence of First Listed Defendant
(EXCEPTIN U.S. PLAINTIFF CASES)                                                       (1N U.S. PLAINTIFF CASES ONLY)
(C) Attorneys (Firm Name,Address and Telephone Number) If you are                     Attorneys (Firm Name,Address and Telephone Number) If you are
 representing yourself, provide the same information.                                 representing yourself, provide the same information.
  Brian Brown,Pro-Se
  723 3rd St
  Needles CA 92363
 (520)831-0985
 II. BASIS OF JURISDICTION (Place an X in one box only.)                      III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                   (Place an X in one box for plaintiff and one for defendant)
                                                                                                          PTF DEF                                            PTF DEF
     1. U.S. Government             ~ 3. Federal Question (U.S.                                           ~ t ~ ~ incorporated or Principal Place            ~ 4 ~ 4
                                                                              Citizen ofThis State
     Plaintiff                        Government Not a Party)                                                     of Business in this State
                                                                              Citizen of Another State    ~ 2 ~ 2 Incorporated and Principal Place           ❑ S ~ 5
                                                                                                                  of Business in Another State
     2. U.S. Government             ~4. Diversity (Indicate Citizenship       Citizen or Subject of a       3   3 Foreign Nation                             ~ 6 ~ 6
     Defendant                         of Parties in Item III)                Foreign Country             ~   ~

 IV. ORIGIN (Place an X in one box only.)
                                                                                                                                6. Multidistrict        8. Multidistrict
      1.Original    2. Removed from  3. Remanded from  4. Reinstated or  5. Transferred from Another                               Litigation -     ~
                                                                                                     ~                                                     Litigation -
        Proceedin9 ~ State Court    ~ APpellate Court ~ Reopened        ~ District (5PecifY)                                       Transfer                Direct File

 V.REQUESTED IN COMPLAINT: JURY DEMAND: ~X Yes ~ No                                     (Check "Yes" only if demanded in complaint.)
CLASS ACTION under F.R.Cv.P. 23:                     Yes ~X No                     ~ MONEY DEMANDED IN COMPLAINT: $ 1,000,000
 VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
               42 U.S.C.§ 1983


 VII. NATURE OF SUIT (Place an X in one box only).
     OTHER STATUTES                 CONTRACT            REAL PROPERTY CONT.           IMMIGRATION        PRISONER PETITIONS                        PRaPERTY RIGHTS
     375 False Claims Act      ❑ 110 Insurance          ~ 240 Torts to Land          462 Naturalization     Habeas Corpus:               ~ 820 Copyrights
                                                                                     Application          463 Alien Detainee
    376 Qui Tam                ~ 120 Marine          ~ 245 Tort Product                                 ~                        ~ 830 Patent
    (31 USC 3729(a))                                    Liability                  465 Other            ~ 510 Motions to Vacate
                               ❑ 130 Miller Act      ~ 290 All Other Real        ~ Immigration Actions    Sentence                 835 Patent -Abbreviated
    400 State
     ReaPPortionment                                    Propert                         TORTS           ❑ 530 General            ~ New Drug Application
                                  140 Negotiable
    410 Antitrust              ~ Instrument                  TORTS               PERSONAL PROPERTY ~ 535 Death PenaltY           ~ 840 Trademark
                                  150 Recovery of     PERSONAL INJURY                                         Other:               880 Defend Trade Secrets Act
   430 Banks and Banking                                                         ~ 370 Other Fraud
                                  Overpayment &      ~ 310 Airplane                                     ~ 540 Mandamus/Other     ~ of 2016(DTSA)
   450 Commerce/ICC               Enforcement of       315 Airplane              ❑ 371 Truth in Lending
   Rates/Etc.                     Judgment           ~ Product Liability                                                               SOCIAL SECURITY
                                                                                 ❑ 380 Other Personal ~ 550 Civil Rights
   460 Deportation                                                                                                                 $61
                                  1 51 Medicare Act    320 Assault, Libel &        Property Damage      ~ 555 Prison Condition   ❑      HIA (1395f~
   470 Racketeer lnflu-                              ~ Slander
   enced & Corrupt Org.           152 Recovery of                               385 Property Damage                              ~ 862  Black Lung (923)
                                                       330 Fed. Employers' ❑ product Liability            560 Civil Detainee
   480 Consumer Credit         ❑  Defaulted  Student ~ Liability                                       ❑Conditions    of         ~ 863 DIWC/DIWW (405 (g))
                                  Loan (Excl. Vet.)                              BANKRUPTCY                Confinement
   485 Telephone                                     ~ 340 Marine                                                                  864 SSID Title XVI
   Consumer Protection Act        153 Recovery of                            ~ 422 Appeal 28             FORFEITURE/PENALTY
                                                       345 Marine Product
   490 Cable/Sat N             ❑Overpayment of ~ Liability                      USC 158                   625 Drug Related       ~ 865 RSI (405 (g))
                                  Vet. Benefits                                 423 Withdrawal 28 ~ Seizure of Property 21
   850 Securities/Com-                               ❑ 350 Motor Vehicle     ❑ USC 157                     USC 881                   FEDERAL TAX SUITS
 ❑ modities/Exchange           ~ 160 Stockholders'
                                  Suits              ~ 355 Motor Vehicle         CIVIL RIGHTS          ~   6900ther                870  Taxes (U.S. Plaintiff or
   890 Other Statutory                                 Product Liability                                         ~AB~R           ~ Defendant)
   Actions                        190 Other                                  ❑x 440 Other Civil Rights
                                                     ~ 360 Other Personal ❑ ~~                                                     8609R5-Third Party 26 USC
     891 Agricultural Acts     ~ Contract                                           Voting             ~ A~ Fair Labor Standards ❑
     893 Environmental            195 Contract         362 Personal Injury-
                               ~ Product Liability ~ Med Malpratice          ❑ ~z Employment           ~ 7z0 Labor/Mgmt.
     Matters                                                                    ~3 Housing/               Relations
     895 Freedom of Info.      ~ 196 Franchise         365  Personal Injury- ~
                                                     ~ Product Liability        Accommodations         ~ 740 Railway Labor Act
     Act
                                 REAL PROPERTY                                  445 American with                                                                y.r,~
    896 Arbitration                                    367 Health Care/
                                                                                                       ~ 751 Family and Medical                                  t 1. 1
                                  210 Land           ~ Pharmaceutical        ❑ Disabilities-              Leave Act                                              ~'~r
    899 Admin. Procedures         Condemnation         Personal Injury          Employment
    Act/Review of Appeal of    ~ Zz0 Foreclosure       Product Liability        446 American with      ~ 790 Other Labor
    Agency Decision                                    368 Asbestos          ~ Disabilities-Other         Litigation
    950 Constitutionality of   ~ X30 Rent Lease & ~ personal Injury          ~ 4q8 Education           ~ X91 Employee Ret. Inc.
    State Statutes                E'edment             Prod ct Liabili                                     Security Act

FOR OFFICE USE ONLY:                     Case N     e                        23          ~              Q ~ ~ 1 V            ~~I~            ~~
CV-71 (10/20)                                                               CIVIL COVER SHEET                                                              Page t of 3
                                                                                                          Doc ID: b382aac6104fflabdc4f6e94d9fbcb8c9ee5b27
             Case 5:23-cv-01118-AB-SSC Document 1-1 Filed 06/13/23 Page 2 of 3 Page ID #:10
                                          UNITED STti _5 DISTRICT COURT,CENTRAL DISTRICT OF ~_ _IFORNIA
                                                                            CIVIL COVER SHEET


VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?                                                STATE CASE WAS PENDING IN THE COUNTY OF:                                    INITIAL DIVISION tN CACD IS:
               Yes ~x No
                                                 Los Angeles, Ventura,Santa Barbara, or San Luis Obispo                                                 WesTern
If"no,"skip to Question B. If "yes," check the
box to the right that applies, enter the       ❑ Orange                                                                                                 Southern
corresponding division in response to
Question E, below,and continue from there. ❑ Riverside or San Bernardino                                                                                 Eastern



QUESTION B: Is the United States, or 6.1. Do 50% or more of the defendants who reside in                     YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees,a   the district reside in Orange Co~                                     ~ Enter "Southern" in response to Question E, below, and continue
PLAINTIFF in this action?                                                                                    from there.
                                     check one ofthe boxes to the right
                Yes Qx No
                                                                                                           ~ NO. Continue to Question 6.2.

                                                8.2. Do 50% or more of the defendants who reside in          YES. Your case will initially be assigned to the Eastern Division.
If"no," skip to Question C. If "yes;' answer    the district reside in Riverside and/or San Bernardino     ~ Enter "Eastern" in response to Question E, below,and continue
Question 6.1, at right.                         Counties? (Consider the two counties together.)              from there.

                                                check one ofthe boxes to the right   ~~                          N0. Your case will initially be assigned to the Western Division.
                                                                                                                 Enter "Western" in response to Question E, below,and continue
                                                                                                                 from there.


QUESTION C: Is the United States, or C.1. Do 50% or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees,d   district reside in Orange Co.?                          ~ Enter "Southern" in response to Question E, below,and continue
DEFENDANT in this action?                                                                      from there.
                                     check one ofthe boxes to the right
                 Yes Q No
                                                                                             ~ N0. Continue to Question C.2.

                                                C.2. Do 50% or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Eastern Division.
If"no,"skip to Question D. If "yes," answer     district reside in Riverside and/or San Bernardino      ~ Enter "Eastern" in response to Question E, below, and continue
Question C.1, at right.                         Counties? (Consider the two counties together.)           from there.

                                                check one ofthe boxes to the right   ~~                          N0. Your case will initially be assigned to the Western Division.
                                                                                                                 Enter "Western" in response to Question E, below, and continue
                                                                                                                 from there.
                                                                                                            A.                         B.                           C.
                                                                                                                                Riverside or San           Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?
                                                                                                   Orange County               Bernardino County           Santa Barbara, or San
                                                                                                                                                            Luis Obispo County

indicate the locations) in which 50% or more of plaintiffs wf~o reside in this district
reside. (Check up to two boxes,or leave blank if none of these choices apply.)
Indicate the locations) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices                           ~                            D
                                                                                                                                        X
apply.)

               D.1. Is there at least one answer in Column A?                                              D.2. Is there at least one answer in Column 67
                                      Yes       ~X No                                                                        Q
                                                                                                                             X Yes         ~ No

                  !f "yes," your case will initia!!y be assigned to the                                       If "yes," your case wil! initially be assigned to the
                               SOUTHERN DIVISION.                                                                           EASTERN DIVISION.
    Enter "Southern" in response to Question E, below, and continue from there.                               Enter "Eastern" in response to Question E, below.
                         If "no," go to question D2 to the right.     ~                                  If "no," your case will be assigned to the WESTERN DIVISION.
                                                                                                             Enter "Western" in response to Question E, below.                ,i,


QUESTION E: Initial Division?                                                                                           INITIAL DiVI510N IN CACD

Enter the initial division determined by Question A, B, C,or D above: ~~                  EASTERN

QUESTION F: Northern Counties?

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                          ~ Yes             ~X No

 CV-71 (70!20)                                                                 CIVIL COVER SHEET                                                                   Page 2 of 3

                                                                                                              Doc ID: b382aac6104ff7abdc4f6e94d9fbcb8c9ee5b27b
              Case 5:23-cv-01118-AB-SSC Document 1-1 Filed 06/13/23 Page 3 of 3 Page ID #:11
                                          UNITED STS„.~S DISTRICT COURT,CENTRAL DISTRICT OF ~_ .~IFORNIA
                                                                CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                0 NO                       YES

        If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below)to any civil or criminal cases) previously filed in this court?
                                                                                                                                             o ~o                      YES
        If yes, list case number(s):


        Civil cases are related when they(check all that apply):

                    A. Arise from the same or a closely related transaction, happening,or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or
                   C. For other reasons would entail substantial duplication of labor if heard by differentjudges.

        Note: That cases may involve the same patent,trademark, or copyright is not, in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal case are related when they(check all that apply):

                    A. Arise from the same or a closely related transaction, happening,or event;

                   B. Caif for determination ofthe same or substantially related or similar questions oflaw and fact; or
                    C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                    labor if heard by differentjudges.


X. SIGNATURE OF ATTORNEY                                            f
(ORSELF-REPRESENTED LITIGANT):                                      lam`                                                          DATE: 6/8/2023

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form N-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law,except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet(CV-071 A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits(Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                       HIA             include claims by hospitals, skilled nursing facilities, etc.,for certification as providers of services under the program.
                                                  (42 U.S.C. 1935FF(b))

        862                       BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.(30 U.S.C.
                                                   923)

                                  DIWC             All claims filed by insured workers for disability insurance benefits underTitle 2 of the Social Security Act, as amended; plus
        863                                        all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

                                  DIWW             All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
        863                                        amended.(42 U.S.C. 405(g))


        864                       SSID             All claims for supplemental security income payments based upon disability filed underTitle 16 of the Social Security Act, as
                                                   amended.

        865                       R51              All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act,as amended.
                                                  (42 U.S.C.405 (g))




CV-71 (10/20)                                                                  CIVIL COVER SHEET                                                                 Page 3 of 3

                                                                                                             Doc ID: b382aac6104ff7abdc4f6e94d9fbcb8c9ee5b27b
